Case 8:21-cv-00439-SDM-TGW Document 1-8 Filed 02/24/21 Page 1 of 9 PageID 115




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  VIRAL STYLE, LLC,

             Plaintiff,
 v.                                             Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

             Defendants.
                                       /

                                EXHIBIT G

                                    TO

                               COMPLAINT
     CaseCase:
         8:21-cv-00439-SDM-TGW
               1:20-cv-05251 Document
                                  Document
                                      #: 33 Filed:
                                             1-8 10/28/20
                                                   Filed 02/24/21
                                                            Page 1Page
                                                                  of 8 PageID
                                                                        2 of 9 PageID
                                                                                #:470 116




                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,
                                                               CASE NO.: 1:20-CV-05251
          PLAINTIFF,

V.                                                             JUDGE THOMAS M. DURKIN

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,                         MAGISTRATE JUDGE SUNIL R. HARJANI

          DEFENDANTS.


                               PRELIMINARY INJUNCTION ORDER
             THIS CAUSE being before the Court on Plaintiff, Iron Maiden Holdings, Ltd.’s (“Iron

      Maiden” or “Plaintiff”) Motion for a Preliminary Injunction, and this Court having heard the

      evidence before it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in its

      entirety against the defendants identified on Schedule A (collectively, the “Defendants”).

             THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

      the Defendants directly target their business activities toward consumers in the United States,

      including Illinois. “In the context of cases like this one, that means a plaintiff must show that each

      defendant is actually operating an interactive website that is accessible in Illinois and that each

      defendant has aimed such site at Illinois by standing ready, willing and able to ship its counterfeit

      goods to customers in Illinois in particular (or otherwise has some sufficient voluntary contacts

      with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified

      on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this case, Plaintiff has presented

      screenshot evidence that each Defendant is reaching out to do business with Illinois residents by

      operating one or more commercial, interactive Internet Stores through which Illinois residents can

                                                        1
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 2Page
                                                             of 8 PageID
                                                                   3 of 9 PageID
                                                                           #:471 117




 and do purchase products using counterfeit versions of Plaintiffs’ Trademarks and Copyrights

 (collectively referred to as “Defendant Internet Stores” or “Seller Aliases”). See Docket No. 10,

 Exhibit 3 to the Declaration of Paul Varley, which includes screenshot evidence confirming that

 each defendant online marketplace account does stand ready, willing and able to ship its counterfeit

 goods to customers in Illinois bearing infringing and/or counterfeit versions of the Iron Maiden

 Trademarks and Copyrights.

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

 Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

 litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

 Procedure 65. Evidence submitted in support of this Motion and in support of Plaintiff’s previously

 granted Motion for a Temporary Restraining Order establishes that Iron Maiden has a likelihood

 of success on the merits; that no remedy at law exists; and that Iron Maiden will suffer irreparable

 harm if the injunction is not granted.

        Specifically, Iron Maiden has proved a prima facie case of trademark infringement

 because: (1) the Iron Maiden Trademarks are distinctive marks and registered with the U.S. Patent

 and Trademark Office on the Principal Register; (2) Plaintiff’s federally registered trademarks are

 valid and in full force and effect; (3) Defendants are not licensed or authorized to use any of the

 Iron Maiden Trademarks and/or Copyrights; and, (4) Defendants’ use of the Iron Maiden

 Trademarks is causing a likelihood of confusion as to the origin or sponsorship of Defendants’

 products with Iron Maiden. Furthermore, Defendants’ continued and unauthorized use of the Iron

 Maiden Trademarks irreparably harms Iron Maiden through diminished goodwill and brand

 confidence, damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales.

 Monetary damages fail to address such damage; and, therefore, Iron Maiden has an inadequate


                                                  2
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 3Page
                                                             of 8 PageID
                                                                   4 of 9 PageID
                                                                           #:472 118




 remedy at law. Moreover, the public interest is served by entry of this Preliminary Injunction to

 dispel the public confusion created by Defendants’ actions. Accordingly, this Court orders that:

    1. Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under, or in active concert with them be

        temporarily enjoined and restrained from:

         a. using Plaintiff’s Iron Maiden Trademarks, Copyrights and/or any

             reproductions, counterfeit copies or colorable imitations thereof, in any manner

             in connection with the distribution, marketing, advertising, offering for sale, or

             sale of any product that is not a genuine Iron Maiden product or not authorized

             by Iron Maiden to be sold in connection with Plaintiff’s Iron Maiden

             Trademarks and/or Copyrights;

        b.   passing off, inducing, or enabling others to sell or pass off any product as a

             genuine Iron Maiden product or any other product produced by Iron Maiden,

             that is not Plaintiff’s nor produced under the authorization, control or

             supervision of Iron Maiden nor approved by Iron Maiden for sale under

             Plaintiff’s Iron Maiden Trademarks and/or Copyrights;

        c.   committing any acts calculated to cause consumers to believe that Defendants’

             products are those sold under the authorization, control, or supervision of Iron

             Maiden, or are sponsored by, approved by, or otherwise connected with Iron

             Maiden;

        d.   further infringing Plaintiff’s Iron Maiden Trademarks and/or Copyrights and

             damaging Iron Maiden’s goodwill;

        e.   otherwise competing unfairly with Iron Maiden in any manner;


                                                  3
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 4Page
                                                             of 8 PageID
                                                                   5 of 9 PageID
                                                                           #:473 119




       f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

            distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Iron Maiden, nor authorized by Iron

            Maiden to be sold or offered for sale, and which bear any of Plaintiff’s Iron

            Maiden Trademarks, Copyrights, and/or any reproductions, counterfeit copies,

            or colorable imitations thereof;

       g.   using, linking to, transferring, selling, exercising control over, or otherwise

            owning the Defendant Internet Stores or any other domain name or online

            marketplace account that is being used to sell or is the means by which

            Defendants could continue to sell Counterfeit Iron Maiden Products; and

       h.   operating and/or hosting websites at the Defendant Internet Stores and any

            other domain names registered or operated by Defendants that are involved

            with the distribution, marketing, advertising, offering for sale, or sale of any

            product bearing Plaintiff’s Iron Maiden Trademarks or any reproductions,

            counterfeit copies or colorable imitations thereof that is not a genuine Iron

            Maiden product or not authorized by Iron Maiden to be sold in connection with

            Plaintiff’s Iron Maiden Trademarks.

    2. Those in privity with Defendants and with actual notice of this Order, including any online

       marketplaces such as Amazon, iOffer and Alibaba Group Holding Ltd., Alipay.com Co.,

       Ltd. and any related Alibaba entities (collectively, “Alibaba”), social media platforms,

       Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

       Yahoo, web hosts for the Defendant Internet Stores, and domain name registrars, shall

       within five (5) business days of receipt of this Order:


                                                  4
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 5Page
                                                             of 8 PageID
                                                                   6 of 9 PageID
                                                                           #:474 120




            a. disable and cease providing services for any accounts through which

               Defendants engage in the sale of counterfeit and infringing goods using the

               Iron Maiden Trademarks and/or Copyrights, including any accounts

               associated with the Defendants listed on the Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of counterfeit and infringing goods

               using the Iron Maiden Trademarks and/or Copyrights; and

            c. take all steps necessary to prevent links to the Defendant Internet Stores,

               identified on the Schedule A, from displaying in search results, including,

               but not limited to, removing links to the Defendant Internet Stores from

               any search index.

    3. Defendants and any third party with actual notice of this Order who is providing services

       for any of the Defendants, or in connection with any of Defendants’ websites at the

       Defendant Internet Stores or other websites operated by Defendants, including, without

       limitation, any online marketplace platforms such as iOffer and Alibaba, advertisers,

       Facebook, Internet Service Providers (“ISP”), web hosts, back-end service providers, web

       designers, sponsored search engine or ad-word providers, banks, merchant account

       providers, including PayPal, Alibaba, Western Union, third party processors and other

       payment processing service providers, shippers, and domain name registrars (collectively,

       the “Third Party Providers”) shall, within ten (10) business days after receipt of such notice,

       provide to Iron Maiden expedited discovery, including copies of all documents and records

       in such person’s or entity’s possession or control relating to:




                                                 5
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 6Page
                                                             of 8 PageID
                                                                   7 of 9 PageID
                                                                           #:475 121




           a. The identities and locations of Defendants, their agents, servants,

              employees, confederates, attorneys, and any persons acting in concert or

              participation with them, including all known contact information;

           b. the nature of Defendants’ operations and all associated sales and financial

              information, including, without        limitation, identifying information

              associated with the Defendant Internet Stores, and Defendants’ financial

              accounts, as well as providing a full accounting of Defendants’ sales and

              listing history related to their respective Defendant Internet Stores;

           c. Defendants’ websites and/or any online marketplace accounts;

           d. The Defendant Internet Stores or any domain name registered by

              Defendants; and

           e. Any financial accounts owned or controlled by Defendants, including their

              agents, servants, employees, confederates, attorneys, and any persons acting

              in concert or participation with them, including such accounts residing with

              or under the control of any banks, savings and loan associations, payment

              processors or other financial institutions, including, without limitation,

              PayPal, WISH, Amazon, Alibaba, Western Union, or other merchant

              account providers, payment providers, third party processors, and credit

              card associations (e.g., MasterCard and VISA).

    4. Defendants and any persons in active concert or participation with them who have actual

       notice of this Order shall be temporarily restrained and enjoined from transferring or

       disposing of any money or other of Defendants’ assets until further ordered by this Court.




                                                 6
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 7Page
                                                             of 8 PageID
                                                                   8 of 9 PageID
                                                                           #:476 122




    5. eBay, Inc. (“eBay”), PayPal, Inc. (“PayPal”), ContextLogic, Inc. (“WISH”), Amazon

       Payments, Inc. (“Amazon”) and Alipay US, Inc. (“Alipay”) shall, or any other party and/or

       marketplace, or payment processor in privity with Defendants, within ten (10) business

       days of receipt of this Order, for any Defendant or any of Defendants’ online marketplace

       accounts or websites:

        a. Locate all accounts and funds connected to Defendants, Defendants Internet

           Stores or Defendants’ websites, including, but not limited to, any eBay, PayPal,

           WISH, Amazon and Alipay accounts connected to the information listed in the

           Schedule A; and

         b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based

           from transferring or disposing of any money or other of Defendants’ assets

           until further ordered by this Court.

    6. Any banks, savings and loan associations, payment processors, or other financial

       institutions, for any Defendant or any of Defendants’ online marketplace accounts or

       websites, shall within ten (10) business days of receipt of this Order:

         a. Locate all accounts and funds connected to Defendants, Defendants’ online

            marketplace accounts or Defendants’ websites, including, but not limited to,

            any accounts connected to the information listed in the Schedule A; and

         b. Restrain and enjoin such accounts from receiving, transferring or disposing of

           any money or other of Defendants’ assets until further ordered by this Court.

    7. Iron Maiden may provide notice of these proceedings to Defendants, including notice of

       the preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3),

       by electronically publishing a link to the Complaint, this Order and other relevant


                                                  7
CaseCase:
    8:21-cv-00439-SDM-TGW
          1:20-cv-05251 Document
                             Document
                                 #: 33 Filed:
                                        1-8 10/28/20
                                              Filed 02/24/21
                                                       Page 8Page
                                                             of 8 PageID
                                                                   9 of 9 PageID
                                                                           #:477 123




        documents on a website, and/or by sending an e-mail to the e-mail addresses provided for

        Defendants by third parties that includes a link to said website. The Clerk of Court is

        directed to issue a single original summons in the name of “UP TO 60% OFF Store and all

        other Defendants identified in the Schedule A to the Complaint” that shall apply to all

        Defendants. The combination of providing notice via electronic publication or e-mail,

        along with any notice that Defendants receive from domain name registrars and payment

        processors, shall constitute notice reasonably calculated under all circumstances to apprise

        Defendants of the pendency of the action and afford them the opportunity to present their

        objections.

    8. The Clerk of Court is directed to unseal Plaintiff’s Amended Complaint, Exhibit 1 to the

        Complaint, Exhibit 2 to the Complaint, Schedule “A” to the Complaint, Motion for

        Temporary Restraining Order and Motions to Extend the Temporary Restraining Order and

        the memorandum and supporting pleadings and exhibits, Motion for Electronic Service of

        Process and its memorandum and supporting pleadings and exhibits, and the Temporary

        Restraining Order and Extensions of the Temporary Restraining Order.

    9. Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days’ notice to Iron Maiden or on shorter notice as set by this Court.

    10. The $10,000 bond posted by Iron Maiden shall remain with the Court until a Final

        disposition of this case or until this Preliminary Injunction is terminated.


 Dated: October 28, 2020


                                       _____________________________________
                                       U.S. District Court Judge Thomas M. Durkin



                                                   8
